         Case 1:17-cv-02003-GBD-SN Document 90 Filed 11/08/18 Page 1 of 6




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                          03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                  SAUDI ARABIA
                                                                         NOTICE OF AMENDMENT
                                                                     
-----------------------------------------------------------------X

7KLVGRFXPHQWUHODWHVWRBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                          ASHTON V. KINGDOM OF SAUDI ARABIA


1RBBBBBBBBBBBBBBBBBBB
    17-CV-2003(GBD)(SN)


         3ODLQWLIIVILOHWKLV1RWLFHRI$PHQGPHQWZLWKUHVSHFWWRWKHXQGHUO\LQJ&RPSODLQWLQWKH

DERYHUHIHUHQFHGPDWWHU(&)1RBBBBBBBBBDVSHUPLWWHGDQGDSSURYHGE\WKH&RXUW¶V2UGHU
                                 1


RI-XO\BBB(&)1RBBBBBBBBB8SRQWKHILOLQJRIWKLV1RWLFHRI$PHQGPHQWWKH
         10                 4045


XQGHUO\LQJ&RPSODLQWLVGHHPHGDPHQGHGWRDGGWKHLQGLYLGXDO V OLVWHGEHORZ WKH³1HZ

3ODLQWLII V ´ DVSODLQWLII V UDLVLQJFODLPVDJDLQVWWKH.LQJGRPRI6DXGL$UDELD7KHXQGHUO\LQJ

&RPSODLQWLVGHHPHGDPHQGHGWRLQFOXGHWKHIDFWXDODOOHJDWLRQVMXULVGLFWLRQDODOOHJDWLRQVDQG

MXU\WULDOGHPDQGDVLQGLFDWHGEHORZRI D WKH&RQVROLGDWHG$PHQGHG&RPSODLQWDVWRWKH

.LQJGRPRI6DXGL$UDELD(&)1RRU E WKH&RPSODLQW$JDLQVWWKH.LQJGRPRI6DXGL

$UDELD$VKWRQY.LQJGRPRI6DXGL$UDELD1R&9 *%' 61  6'1<0DU

 (&)1RDVZHOODVDOOFDXVHVRIDFWLRQVSHFLILHGEHORZ7KHDPHQGPHQWHIIHFWHG

WKURXJKWKLV1RWLFHRI$PHQGPHQWVXSSOHPHQWVE\LQFRUSRUDWLRQLQWREXWGRHVQRWGLVSODFHWKH

XQGHUO\LQJ&RPSODLQW7KLV1RWLFHRI$PHQGPHQWUHODWHVVROHO\WRWKH.LQJGRPRI6DXGL$UDELD

DQGGRHVQRWDSSO\WRDQ\RWKHUGHIHQGDQW

         8SRQILOLQJWKLV6DXGL$UDELD1RWLFHRI$PHQGPHQWHDFK1HZ3ODLQWLIILVGHHPHGWR

KDYHDGRSWHGDOOIDFWXDODQGMXULVGLFWLRQDODOOHJDWLRQVRIWKHFRPSODLQWWKDWKDVEHHQMRLQHGDV




                                                        

       Case 1:17-cv-02003-GBD-SN Document 90 Filed 11/08/18 Page 2 of 6




VSHFLILHGEHORZDOOSULRUILOLQJVLQFRQQHFWLRQZLWKWKDWFRPSODLQWDQGDOOSULRU2UGHUVDQG

UXOLQJVRIWKH&RXUWLQFRQQHFWLRQZLWKWKDWFRPSODLQW

                                     CAUSES OF ACTION

       (DFK1HZ3ODLQWLIIKHUHE\DGRSWVDQGLQFRUSRUDWHVKHUHLQE\UHIHUHQFHWKHIROORZLQJ

IDFWXDODOOHJDWLRQVMXULVGLFWLRQDODOOHJDWLRQVDQGMXU\WULDOGHPDQGLQWKHIROORZLQJFRPSODLQW

>check only one complaint@DQG WKHIROORZLQJ FDXVHVRIDFWLRQVHWIRUWKLQWKDWFRPSODLQW

               Consolidated Amended Complaint as to the Kingdom of Saudi Arabia, ECF
               No. 3463 (check all causes of action that apply)

                       &2817,±$LGLQJDQG$EHWWLQJDQG&RQVSLULQJZLWK$O4DHGDWR
                       &RPPLWWKH6HSWHPEHUWK$WWDFNVXSRQWKH8QLWHG6WDWHVLQYLRODWLRQRI
                       86& G  -$67$ 

                       &2817,,±$LGLQJDQG$EHWWLQJDQG&RQVSLULQJZLWK$O4DHGDWR
                       &RPPLWWKH6HSWHPEHUWK$WWDFNVXSRQWKH8QLWHG6WDWHVLQYLRODWLRQRI
                       86& D 

                       &2817,,,±&RPPLWWLQJ$FWVRI,QWHUQDWLRQDO7HUURULVPLQYLRODWLRQRI
                       86&

                       &2817,9±:URQJIXO'HDWK

                       &28179,±$OLHQ7RUW&ODLPV$FW

                       &28179,,±$VVDXOWDQG%DWWHU\

                       &28179,,,±&RQVSLUDF\

                       &2817,;±$LGLQJDQG$EHWWLQJ

                       &2817;±,QWHQWLRQDO,QIOLFWLRQRI(PRWLRQDO'LVWUHVV

                       &2817;,,±/LDELOLW\3XUVXDQWWR5HVWDWHPHQW 6HFRQG RI7RUWV
                       DQG5HVWDWHPHQW 7KLUG RI$JHQF\6XSHUYLVLQJ(PSOR\HHVDQG
                       $JHQWV

                       &2817;,,,±/LDELOLW\3XUVXDQWWR5HVWDWHPHQW 6HFRQG RI7RUWV
                       DQG5HVWDWHPHQW 7KLUG RI$JHQF\+LULQJ6HOHFWLQJDQG
                       5HWDLQLQJ(PSOR\HHVDQG$JHQWV

                       &2817;,9±86& D ± G ±&,9,/5,&2

                                                 

    Case 1:17-cv-02003-GBD-SN Document 90 Filed 11/08/18 Page 3 of 6




               &2817;9±7UHVSDVV

               &2817;9,±9LRODWLRQVRI,QWHUQDWLRQDO/DZ

         Complaint Against the Kingdom of Saudi Arabia, Ashton v. Kingdom of
         Saudi Arabia, No. 17-CV-2003 (GBD)(SN) (S.D.N.Y. Mar. 30, 2017), ECF
         No. 1 (check all causes of action that apply)

               )LUVW&DXVHRI$FWLRQWR5HFRYHU:URQJIXO'HDWK'DPDJHV3XUVXDQWWR
               86&% WKH-XVWLFH$JDLQVW6SRQVRUVRI7HUURULVP$FWRU
               -$67$ DQG86&et seq. WKH$QWL7HUURULVP$FWRU$7$ 

               )LUVW&DXVHRI$FWLRQWR5HFRYHU3HUVRQDO,QMXU\'DPDJHV3XUVXDQWWR
               86&% WKH-XVWLFH$JDLQVW6SRQVRUVRI7HUURULVP$FWRU
               -$67$ DQG86&et seq. WKH$QWL7HUURULVP$FWRU$7$ 

               6HFRQG&DXVHRI$FWLRQIRU:URQJIXO'HDWK'DPDJHV3XUVXDQWWR6WDWH
               7RUW/DZ

               6HFRQG&DXVHRI$FWLRQIRU3HUVRQDO,QMXU\'DPDJHV3XUVXDQWWR6WDWH
               7RUW/DZ

               7KLUG&DXVHRI$FWLRQIRU:URQJIXO'HDWK'DPDJHV3XUVXDQWWRWKH$OLHQ
               7RUW&ODLPV$FW

               7KLUG&DXVHRI$FWLRQIRU3HUVRQDO,QMXU\'DPDJHV3XUVXDQWWRWKH$OLHQ
               7RUW&ODLPV$FW




                                       

       Case 1:17-cv-02003-GBD-SN Document 90 Filed 11/08/18 Page 4 of 6




                           IDENTIFICATION OF NEW PLAINTIFFS

Each New Plaintiff is or was a survivor of a person who died due to the terrorist attacks of

September 11, 2001. For each New Plaintiff, the following chart lists the New Plaintiff’s name,

the New Plaintiff’s residency and nationality, the name of the New Plaintiff’s deceased family

member, the New Plaintiff’s relationship to the decedent, and the paragraph(s) of the underlying

Complaint discussing the decedent and/or the decedent’s estate.



     Plaintiff’s      Plaintiff’s   New             9/11 Decedent's     New Plaintiff’s   Paragraphs
     Name             State of      Plaintiff’s     Name                Relationship to   of
     (alphabetical    Residency     Citizenship/N                       9/11 Decedent     Complaint
     by last name)    at filing     ationality on                                         Discussing
                      (or death)    9/11/2001                                             9/11
                                                                                          Decedent
     Aranyos, Jr.,    FL            USA             Aranyos, Patrick    Sibling
 1   Alexander                                                                              N/A
     Paul
     Badagliacca,     NY            USA             Badagliacca,        Child
 2   John                                           John                                    N/A

     Badagliacca,     NY            USA             Badagliacca,        Child
 3   Nikki                                          John                                    N/A

     Froehlich,       NY            USA             Hayes, Phillip T.   Child
 4   Laura                                                                                  N/A

     Gies, Robert     NY            USA             Gies, Ronnie E.     Child
 5   E.                                                                                     N/A

     Gies, Ronnie     NY            USA             Gies, Ronnie E.     Child               N/A
 6   J.
     Gies,            NY            USA             Gies, Ronnie E.     Child               N/A
 7   Thomas W.
     Harrell,         NY            USA             Harrell, Harvey     Child               N/A
 8   Elyse R.                                       L.
     Harrell,         NY            USA             Harrell, Harvey     Child               N/A
 9   Marissa R.                                     L.



                                                    4
      Case 1:17-cv-02003-GBD-SN Document 90 Filed 11/08/18 Page 5 of 6



     Plaintiff’s     Plaintiff’s   New             9/11 Decedent's     New Plaintiff’s   Paragraphs
     Name            State of      Plaintiff’s     Name                Relationship to   of
     (alphabetical   Residency     Citizenship/N                       9/11 Decedent     Complaint
     by last name)   at filing     ationality on                                         Discussing
                     (or death)    9/11/2001                                             9/11
                                                                                         Decedent
     Hayes, Jr.,     CA            USA             Hayes, Phillip T.   Child               N/A
10   Phillip T.
     Healey,         NY            USA             Healey, Michael     Child               N/A
11   Kathryn E.
     Healey,         NY            USA             Healey, Michael     Child               N/A
12   Matthew A.
     Healey,         NY            USA             Healey, Michael     Child               N/A
13   Michael J.
     Henderson,      GA            USA             Henderson,          Child               N/A
14   Doron                                         Ronnie Lee
     Henderson,      MD            USA             Henderson,          Child               N/A
     Hashim                                        Ronnie Lee
15


     McDermott,      NY            USA             Hayes, Phillip T.   Child               N/A
16   Virginia
     Mojica, Letty PR              USA             Mojica, Jr.,        Sibling             N/A
17                                                 Manuel
     Mojica,         NY            USA             Mojica, Jr.,        Child               N/A
18   Manny                                         Manuel
     Mojica,         NY            USA             Mojica, Jr.,        Child               N/A
19   Stephanie                                     Manuel
     Navarro,        NY            USA             Navarro, Karen      Sibling             N/A
20   Sharon                                        S.
     O'Gara,         NY            USA             Hayes, Phillip T.   Child               N/A
21   Theresa
     Ross,           GA            USA             Henderson,          Stepchild           N/A
22   Marshall                                      Ronnie Lee
     Smith,          GA            USA             Henderson,          Stepchild           N/A
23   LaKimmie                                      Ronnie Lee



                                                   5
      Case 1:17-cv-02003-GBD-SN Document 90 Filed 11/08/18 Page 6 of 6



     Plaintiff’s     Plaintiff’s   New             9/11 Decedent's    New Plaintiff’s   Paragraphs
     Name            State of      Plaintiff’s     Name               Relationship to   of
     (alphabetical   Residency     Citizenship/N                      9/11 Decedent     Complaint
     by last name)   at filing     ationality on                                        Discussing
                     (or death)    9/11/2001                                            9/11
                                                                                        Decedent
     Terry, Tania    TX            USA             Terry, Lisa        Parent              N/A
24
     Welty, Jake     NY            USA             Welty, Timothy     Child               N/A
25                                                 M.




Dated: November 7, 2018



                                                       Respectfully submitted,

                                                       KREINDLER & KREINDLER LLP

                                                       BY: /s/ James P. Kreindler
                                                       James P. Kreindler, Esq.
                                                       Andrew J. Maloney III, Esq.
                                                       750 Third Avenue, 32nd Floor
                                                       New York, New York 10017
                                                       Tel: (212) 687-8181
                                                       COUNSEL FOR PLAINTIFFS




                                                   6
